Case 1:15-cv-05345-AJN-KHP Document 143-16 Filed 05/12/16 Page 1 of 141




                           Exhibit 29
                      (PART 2 OF 2)
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                2 of2141
                                                                      of 141




                                                                               2
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                3 of3141
                                                                      of 141




                                                                               3
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                4 of4141
                                                                      of 141




                                                                               4
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                5 of5141
                                                                      of 141




                                                                               5
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                6 of6141
                                                                      of 141




                                                                               6
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                7 of7141
                                                                      of 141




                                                                               7
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                8 of8141
                                                                      of 141




                                                                               8
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                9 of9141
                                                                      of 141




                                                                               9
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                10 of
                                                                   10141
                                                                      of 141




                                                                               10
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                11 of
                                                                   11141
                                                                      of 141




                                                                               11
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                12 of
                                                                   12141
                                                                      of 141




                                                                               12
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                13 of
                                                                   13141
                                                                      of 141




                                                                               13
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                14 of
                                                                   14141
                                                                      of 141




                                                                               14
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                15 of
                                                                   15141
                                                                      of 141




                                                                               15
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                16 of
                                                                   16141
                                                                      of 141




                                                                               16
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                17 of
                                                                   17141
                                                                      of 141




                                                                               17
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                18 of
                                                                   18141
                                                                      of 141




                                                                               18
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                19 of
                                                                   19141
                                                                      of 141




                                                                               19
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                20 of
                                                                   20141
                                                                      of 141




                                                                               20
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                21 of
                                                                   21141
                                                                      of 141




                                                                               21
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                22 of
                                                                   22141
                                                                      of 141




                                                                               22
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                23 of
                                                                   23141
                                                                      of 141




                                                                               23
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                24 of
                                                                   24141
                                                                      of 141




                                                                               24
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                25 of
                                                                   25141
                                                                      of 141




                                                                               25
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                26 of
                                                                   26141
                                                                      of 141




                                                                               26
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                27 of
                                                                   27141
                                                                      of 141




                                                                               27
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                28 of
                                                                   28141
                                                                      of 141




                                                                               28
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                29 of
                                                                   29141
                                                                      of 141




                                                                               29
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                30 of
                                                                   30141
                                                                      of 141




                                                                               30
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                31 of
                                                                   31141
                                                                      of 141




                                                                               31
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                32 of
                                                                   32141
                                                                      of 141




                                                                               32
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                33 of
                                                                   33141
                                                                      of 141




                                                                               33
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                34 of
                                                                   34141
                                                                      of 141




                                                                               34
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                35 of
                                                                   35141
                                                                      of 141




                                                                               35
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                36 of
                                                                   36141
                                                                      of 141




                                                                               36
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                37 of
                                                                   37141
                                                                      of 141




                                                                               37
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                38 of
                                                                   38141
                                                                      of 141




                                                                               38
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                39 of
                                                                   39141
                                                                      of 141




                                                                               39
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                40 of
                                                                   40141
                                                                      of 141




                                                                               40
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                41 of
                                                                   41141
                                                                      of 141




                                                                               41
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                42 of
                                                                   42141
                                                                      of 141




                                                                               42
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                43 of
                                                                   43141
                                                                      of 141




                                                                               43
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                44 of
                                                                   44141
                                                                      of 141




                                                                               44
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                45 of
                                                                   45141
                                                                      of 141




                                                                               45
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                46 of
                                                                   46141
                                                                      of 141




                                                                               46
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                47 of
                                                                   47141
                                                                      of 141




                                                                               47
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                48 of
                                                                   48141
                                                                      of 141




                                                                               48
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                49 of
                                                                   49141
                                                                      of 141




                                                                               49
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                50 of
                                                                   50141
                                                                      of 141




                                                                               50
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                51 of
                                                                   51141
                                                                      of 141




                                                                               51
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                52 of
                                                                   52141
                                                                      of 141




                                                                               52
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                53 of
                                                                   53141
                                                                      of 141




                                                                               53
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                54 of
                                                                   54141
                                                                      of 141




                                                                               54
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                55 of
                                                                   55141
                                                                      of 141




                                                                               55
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                56 of
                                                                   56141
                                                                      of 141




                                                                               56
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                57 of
                                                                   57141
                                                                      of 141




                                                                               57
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                58 of
                                                                   58141
                                                                      of 141




                                                                               58
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                59 of
                                                                   59141
                                                                      of 141




                                                                               59
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                60 of
                                                                   60141
                                                                      of 141




                                                                               60
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                61 of
                                                                   61141
                                                                      of 141




                                                                               61
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                62 of
                                                                   62141
                                                                      of 141




                                                                               62
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                63 of
                                                                   63141
                                                                      of 141




                                                                               63
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                64 of
                                                                   64141
                                                                      of 141




                                                                               64
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                65 of
                                                                   65141
                                                                      of 141




                                                                               65
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                66 of
                                                                   66141
                                                                      of 141




                                                                               66
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                67 of
                                                                   67141
                                                                      of 141




                                                                               67
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                68 of
                                                                   68141
                                                                      of 141




                                                                               68
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                69 of
                                                                   69141
                                                                      of 141




                                                                               69
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                70 of
                                                                   70141
                                                                      of 141




                                                                               70
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                71 of
                                                                   71141
                                                                      of 141




                                                                               71
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                72 of
                                                                   72141
                                                                      of 141




                                                                               72
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                73 of
                                                                   73141
                                                                      of 141




                                                                               73
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                74 of
                                                                   74141
                                                                      of 141




                                                                               74
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                75 of
                                                                   75141
                                                                      of 141




                                                                               75
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                76 of
                                                                   76141
                                                                      of 141




                                                                               76
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                77 of
                                                                   77141
                                                                      of 141




                                                                               77
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                78 of
                                                                   78141
                                                                      of 141




                                                                               78
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                79 of
                                                                   79141
                                                                      of 141




                                                                               79
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                80 of
                                                                   80141
                                                                      of 141




                                                                               80
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                81 of
                                                                   81141
                                                                      of 141




                                                                               81
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                82 of
                                                                   82141
                                                                      of 141




                                                                               82
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                83 of
                                                                   83141
                                                                      of 141




                                                                               83
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                84 of
                                                                   84141
                                                                      of 141




                                                                               84
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                85 of
                                                                   85141
                                                                      of 141




                                                                               85
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                86 of
                                                                   86141
                                                                      of 141




                                                                               86
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                87 of
                                                                   87141
                                                                      of 141




                                                                               87
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                88 of
                                                                   88141
                                                                      of 141




                                                                               88
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                89 of
                                                                   89141
                                                                      of 141




                                                                               89
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                90 of
                                                                   90141
                                                                      of 141




                                                                               90
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                91 of
                                                                   91141
                                                                      of 141




                                                                               91
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                92 of
                                                                   92141
                                                                      of 141




                                                                               92
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                93 of
                                                                   93141
                                                                      of 141




                                                                               93
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                94 of
                                                                   94141
                                                                      of 141




                                                                               94
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                95 of
                                                                   95141
                                                                      of 141




                                                                               95
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                96 of
                                                                   96141
                                                                      of 141




                                                                               96
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                97 of
                                                                   97141
                                                                      of 141




                                                                               97
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                98 of
                                                                   98141
                                                                      of 141




                                                                               98
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                99 of
                                                                   99141
                                                                      of 141




                                                                               99
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                100100
                                                                    of 141
                                                                        of 141




                                                                             100
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                101101
                                                                    of 141
                                                                        of 141




                                                                             101
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                102102
                                                                    of 141
                                                                        of 141




                                                                             102
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                103103
                                                                    of 141
                                                                        of 141




                                                                             103
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                104104
                                                                    of 141
                                                                        of 141




                                                                             104
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                105105
                                                                    of 141
                                                                        of 141




                                                                             105
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                106106
                                                                    of 141
                                                                        of 141




                                                                             106
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                107107
                                                                    of 141
                                                                        of 141




                                                                             107
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                108108
                                                                    of 141
                                                                        of 141




                                                                             108
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                109109
                                                                    of 141
                                                                        of 141




                                                                             109
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                110110
                                                                    of 141
                                                                        of 141




                                                                             110
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                111111
                                                                    of 141
                                                                        of 141




                                                                             111
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                112112
                                                                    of 141
                                                                        of 141




                                                                             112
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                113113
                                                                    of 141
                                                                        of 141




                                                                             113
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                114114
                                                                    of 141
                                                                        of 141




                                                                             114
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                115115
                                                                    of 141
                                                                        of 141




                                                                             115
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                116116
                                                                    of 141
                                                                        of 141




                                                                             116
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                117117
                                                                    of 141
                                                                        of 141




                                                                             117
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                118118
                                                                    of 141
                                                                        of 141




                                                                             118
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                119119
                                                                    of 141
                                                                        of 141




                                                                             119
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                120120
                                                                    of 141
                                                                        of 141




                                                                             120
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                121121
                                                                    of 141
                                                                        of 141




                                                                             121
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                122122
                                                                    of 141
                                                                        of 141




                                                                             122
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                123123
                                                                    of 141
                                                                        of 141




                                                                             123
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                124124
                                                                    of 141
                                                                        of 141




                                                                             124
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                125125
                                                                    of 141
                                                                        of 141




                                                                             125
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                126126
                                                                    of 141
                                                                        of 141




                                                                             126
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                127127
                                                                    of 141
                                                                        of 141




                                                                             127
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                128128
                                                                    of 141
                                                                        of 141




                                                                             128
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                129129
                                                                    of 141
                                                                        of 141




                                                                             129
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                130130
                                                                    of 141
                                                                        of 141




                                                                             130
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                131131
                                                                    of 141
                                                                        of 141




                                                                             131
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                132132
                                                                    of 141
                                                                        of 141




                                                                             132
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                133133
                                                                    of 141
                                                                        of 141




                                                                             133
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                134134
                                                                    of 141
                                                                        of 141




                                                                             134
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                135135
                                                                    of 141
                                                                        of 141




                                                                             135
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                136136
                                                                    of 141
                                                                        of 141




                                                                             136
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                137137
                                                                    of 141
                                                                        of 141




                                                                             137
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                138138
                                                                    of 141
                                                                        of 141




                                                                             138
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                139139
                                                                    of 141
                                                                        of 141




                                                                             139
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                140140
                                                                    of 141
                                                                        of 141




                                                                             140
Case
  Case
     1:15-cv-05345-AJN-KHP
        1:15-cv-05345-AJN Document
                           Document108-9
                                     143-16
                                          Filed
                                              Filed
                                                 04/01/16
                                                    05/12/16
                                                           Page
                                                             Page
                                                                141141
                                                                    of 141
                                                                        of 141




                                                                             141
